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 9                           UNITED STATES DISTRICT COURT
10                         CENTRAL DISTRICT OF CALIFORNIA
11

12
      BHAGAT THIND,                                 CASE NO. 2:22-cv-00976
13
                           Plaintiff,
14

15            vs.
16
      UNITED STATES GENERAL                         COMPLAINT FOR NEGLIGENCE
17    SERVICES ADMINISTRATION;                      (MOTOR VEHICLE)
      FAIR TITLING TRUST, a statutory
18
      trust; FAIR MOBILITY SERVICES,                [Brought under Federal Tort Claims
19    LLC, a limited liability company; and         Act, 28 U.S.C. §2671, et seq.]
      MIGUEL ANGEL PEREZ, JR.
20

21                         Defendants.
22

23

24

25         Plaintiff alleges:
26       I.         Jurisdiction
27                  The above-entitled Court has jurisdiction pursuant to 28 U.S.C. section
28   1346(b)(1), in that this action against an agency of the United States seeks money
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 1   damages for personal injury caused by the negligent or wrongful acts and/or
 2   omissions of employees of defendant UNITED STATES GENERAL SERVICES
 3   ADMINISTRATION (“USGSA”).
 4                This action is brought pursuant to the Federal Tort Claims Act (28
 5   U.S.C. §2671, et seq.).
 6       II.      Venue and Parties
 7                The motor vehicle collision giving rise to this action occurred on
 8   February 28, 2020 at or adjacent to the intersection of 6th Street and Kenmore Avenue
 9   in the City of Los Angeles, County of Los Angeles, State of California, within the
10   jurisdiction of the Western Division of the United States District Court for the Central
11   District of California.
12                Plaintiff BHAGAT THIND (“THIND”) is and at all relevant times was a
13   resident of the City of Los Angeles, County of Los Angeles, State of California.
14                Plaintiff is informed and believes and based thereon alleges that
15   defendant UNITED STATES GENERAL SERVICES ADMINISTRATION
16   (“USGSA”) is an agency of the UNITED STATES government.
17                Plaintiff is informed and believes and based thereon alleges that, at all
18   relevant times, defendant FAIR TITLING TRUST (“FAIR TITLING”) was a
19   statutory trust organized and existing under the laws of the state of Delaware, and
20   engaged in the business of leasing vehicles to be subleased in California, among other
21   places.
22                Plaintiff is informed and believes and based thereon alleges that, at all
23   relevant times, defendant FAIR MOBILITY SERVICES, LLC (“FAIR MOBILITY”)
24   was a limited liability company organized and existing under the laws of the state of
25   Delaware, and engaged in the business of subleaseing and/or entrusting vehicles in
26   California and elsewhere which FAIR MOBILITY had leased from FAIR TITLING.
27                Plaintiff is informed and believes and based thereon alleges that, at all
28   relevant times, defendant MIGUEL ANGEL PEREZ, JR. (“PEREZ”) was a resident
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 1   of the City of Bellflower, County of Los Angeles, State of California.
 2                Plaintiff is informed and believes and based upon such information and
 3   belief alleges that each defendant was the agent, servant, representative, alter ego
 4   and/or employee of each other defendant and, as such, was acting within the course
 5   and scope of such agency, hiring, employment and/or common interest, with the
 6   permission, consent and/or ratification of each other defendant in committing the acts
 7   and omissions herein alleged.
 8     III.       Administrative Claim
 9                On or about August 10, 2020, plaintiff submitted an administrative claim
10   utilizing United States Standard Form 95 to defendant USGSA, asserting the claim
11   set forth in this Complaint. On August 27, 2020, defendant USGSA acknowledged
12   receipt of the claim. As of the date of filing this Complaint, defendant USGSA has
13   not agreed to make any payment on the claim; nor has it denied the claim.
14   Accordingly, plaintiff has complied with the procedural requirements for timely
15   asserting a claim against an agency of the United States.
16      IV.       The Vehicles
17                The Civic. At all relevant times, plaintiff was the owner and driver of a
18   certain Honda Civic (the “Civic”) involved in the Incident hereinbelow described.
19                The Elantra. Plaintiff is informed and believes and based thereon
20   alleges that, at all relevant times, defendant USGSA (or another agency of the
21   UNITED STATES) was the owner of a certain Hyundai Elantra (the “Elantra”)
22   involved in the Incident, whose employee was driving the Elantra within the course
23   and scope of employment by USGSA.
24                The Jetta. Plaintiff is informed and believes and based thereon alleges
25   that at all relevant times defendant FAIR TITLING was the registered owner and
26   lessor of a certain Volkswagen Jetta (“Jetta”), which it had leased to defendant FAIR
27   MOBILITY, who in turn had subleased or entrusted such Jetta to defendant PEREZ
28   prior to the Incident, or that defendant FAIR MOBILITY had subleased or entrusted
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 1   the Jetta to defendants DOES to 10, who in turn entrusted it to defendant PEREZ.
 2       V.       The Incident
 3                On February 28, 2020 at approximately 9:00 p.m., plaintiff was driving
 4   the Civic westbound on 6th Street, having stopped for a red light at the intersection of
 5   6th Street and Kenmore Avenue in Los Angeles, California, with defendant PEREZ
 6   driving the Jetta in the same direction immediately behind plaintiff, and with
 7   defendant USGSA’s employee driving the Elantra behind the Jetta, in the course and
 8   scope of his employment by USGSA.
 9                Plaintiff is informed and believes and based thereon alleges that, at such
10   time and place, defendant USGSA’s employee so negligently operated the Elantra,
11   including but not limited to driving too fast for prevailing conditions (violating
12   California Vehicle Code § 22350), following too closely (violating § 21703) and
13   failing to maintain a proper lookout, all of which caused the Elantra to crash and
14   collide into the rear of the Jetta driven by defendant PEREZ, who, in a negligent
15   fashion, was following too closely behind plaintiff’s Civic, and which propelled and
16   pushed the Jetta forward to crash into the Civic, causing serious injuries to plaintiff
17   which have required and continue to require medical treatment, and the damages
18   alleged in this Complaint.
19                                FIRST CLAIM FOR RELIEF
20                                By Plaintiff BHAGAT THIND
21                   Against Defendants USGSA, FAIR TITLING, FAIR
22                                   MOBILITY and PEREZ
23                                For Negligence (Motor Vehicle)
24                Plaintiff incorporates by reference and repleads all allegations found in
25   each paragraph set forth above, as though fully set forth in this paragraph.
26                Plaintiff is informed and believes and based thereon alleges that
27   defendants, and each of them, so negligently operated, drove, entrusted, managed,
28   and/or maintained their vehicles so as to cause the Elantra to crash and collide into the
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 1   rear of the Jetta, and the Jetta to crash and collide into the rear of plaintiff’s Civic,
 2   causing injuries and damages to plaintiff as alleged in this Complaint.
 3                  Plaintiff is informed and believes and based thereon alleges that the
 4   negligent acts and omissions of defendants alleged in this cause of action were a
 5   substantial factor in causing the Incident, and in causing injury to plaintiff and the
 6   damages alleged in this Complaint.
 7                  As a direct and proximate result of the negligence of defendants, plaintiff
 8   has sustained and continues to sustain the following items of economic damage, in an
 9   amount that is yet to be ascertained: medical expenses, loss of earnings, and
10   incidental expenses.
11                  As a direct and proximate result of the negligent acts and omissions of
12   defendant, plaintiff has sustained and continues to sustain the following items of
13   noneconomic damage, in an amount that is to be yet to be ascertained: pain,
14   suffering, loss of enjoyment of life, loss of earning capacity, and other intangible
15   losses.
16

17                                    PRAYER FOR RELIEF
18         WHEREFORE, plaintiff prays for judgment as follows:
19         1.       For past and future medical expenses, in an amount that is yet to be
20   ascertained;
21         2.       For past and future loss of earnings in an amount that is yet to be
22   ascertained;
23         3.       For past and future incidental expenses, in an amount that is yet to be
24   ascertained;
25         4.       For noneconomic damages including but not limited to pain, suffering,
26   emotional distress, loss of enjoyment of life and other intangible losses, in an amount
27   that is yet to be ascertained;
28         5.       For costs of suit incurred herein;
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 1        6.   For prejudgment interest allowable by law.
 2        7.   For such other and further relief as the Court may deem just and proper.
 3
     DATED: February 10, 2022             S. EDMOND EL DABE
 4                                        JESSICA L. CASTRO
                                          ELDABE | RITTER TRIAL LAWYERS
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 7
                                    By:
 8                                        S. EDMOND EL DABE
 9
                                          Attorneys for Plaintiff
                                          BHAGAT THIND
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